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                                   STATEMENT OF FACTS

        Your affiant, Alejandro Flores, is a Special Agent with the Federal Bureau of Investigation
and is presently tasked with investigating criminal activity in and around the Capitol grounds. As
a Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of a violation of Federal criminal laws. The
U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol
include permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only
authorized people with appropriate identification are allowed access inside the U.S. Capitol. On
January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
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        According to video footage obtained by the FBI, the defendant, Daniel Goodwyn, entered
the Capitol Building on January 6, 2021. While in the building the defendant was called out as
“sfthoughtcriminal,” by Anthime Gionet aka “Baked Alaska.” Goodwyn, who was wearing dark
sunglasses, a MAGA hat, and a tan and black jacket approached Gionet. Goodwyn then told Gionet
to stop “doxing” him and stated that his name was Daniel Goodwyn. Goodwyn was then directed
out of the building by a U.S. Capitol Police officer. Goodwyn then called the officer an
“oathbreaker” and yelled for people to get the officer’s badge number as he left. Screenshots from
the video footage can be found below:
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       Defendant Daniel Goodwyn was identified after the FBI received a report from an associate
of Goodwyn. His associate identified Goodwyn from a recording made from the livestream Gionet
broadcasted during the events inside the Capitol on January 6, 2021. The reporting individual
confirmed that Daniel Goodwyn was indeed the person in the above screenshots. The FBI reviewed
Daniel Goodwyn’s driver’s license photo and it matched the image of the individual identifying
himself as Daniel Goodwyn. Goodwyn also messaged the same associate using Instagram while
he was at the Capitol to tell him, “Tell your dad if he doesn’t want his guns I can find some folks
who will.” Goodwyn’s associate confirmed that it was Daniel Goodwyn’s Instagram account; a
screenshot of that Instagram conversation can be found below:
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        Further, Goodwyn posted on the same Instagram accountafter the incident that, “I didn’t
break or take anything but I went inside for a couple of minutes.” A screenshot of that post is
below:
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       It should also be noted that Goodwyn is a self-proclaimed member of the Proud Boys, a
group known to the FBI as being present and disrupting the functions of the U.S. Congress on
January 6, 202. Goodwyn has posted on his social media to that effect as recently as November
2020, commenting specifically on the 2020 Presidential election.




         Based on the foregoing, your affiant submits that there is probable cause to believe that
Daniel Goodwyn violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
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or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that Daniel Goodwyn violated
40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                     _________________________________
                                                     Alejandro Flores
                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 15th day of January 2021.                                      Zia M. Faruqui
                                                                          2021.01.15 11:12:51
                                                                          -05'00'
                                                     ___________________________________
                                                     Zia M. Faruqui
                                                     U.S. MAGISTRATE JUDGE
